Case 21-01017-JDW         Doc 4     Filed 07/06/21 Entered 07/06/21 11:28:43          Desc Main
                                    Document     Page 1 of 2

____________________________________________________________________________
                                                     SO ORDERED,




                                                     Judge Jason D. Woodard
                                                     United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

IN RE: KENNETH DOWNING                               CASE NO. 21-11026-JDW
____________________________________________________________________________

KENNETH DOWNING                                                        PLAINTIFF

V.                                           Adversary Case No. 21-01017 JDW
RELIANT LOAN SERVICING LLC
BY FAY SERVICING. LLC
P.O. BOX 619063                                      DEFENDANT
Dallas TX 75261-9063
____________________________________________________________________________

        ORDER ON MOTION FOR REFUND OF FILING FEE [DKT. NO. 2]
____________________________________________________________________________

       THIS CAUSE came on before the Court on Debtor’s Motion for Refund of Filing [Dkt.

No. 2] due to the Plaintiff being the Debtor in Chapter 13 Bankruptcy Case No. 21-11026.

       WHEREFORE, PREMISES CONSIDERED, the Court grants this Order to refund the

filing fee paid on behalf of the Debtor and Plaintiff in this case.

        ORDERED, ADJUDGED and DECREED that the Motion is granted.

                                       #END OF ORDER#

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Case 21-01017-JDW     Doc 4   Filed 07/06/21 Entered 07/06/21 11:28:43    Desc Main
                              Document     Page 2 of 2




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